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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

PAUL H. ESPERSEN AND                §
PEGGY ESPERSEN,                     §
                                    §
                Plaintiffs,         §
                                    §
vs.                                 §                     Civil Action No._______________
                                    §
THE ZIA COMPANY; REGENTS OF THE     §
UNIVERSITY OF CALIFORNIA;           §
OWENS-ILLINOIS, INC., CROWN CORK    §
AND SEAL COMPANY, INC; HONEYWELL §
INTERNATIONAL, INC; HONEYWELL, INC; §
and METROPOLITAN LIFE INSURANCE     §
COMPANY,                            §                     JURY TRIAL DEMANDED
                                    §
                Defendants.         §

                                        COMPLAINT

       COME NOW Plaintiffs PAUL H. ESPERSEN and PEGGY ESPERSEN, and for their

Civil Complaint against Defendants, state as follows:

                                           I. PARTIES

       1. Paul H. Espersen and Peggy Espersen reside in Wake Forest, North Carolina.

       2. Defendant The Zia Company is a company organized and existing and by virtue of

the laws of the state of Delaware and may be served with process by service on its registered

agent, Leslie L. Keener, 106 N. First Street, Belen, New Mexico 87002.

       3. Defendant Regents of the University of California is a company organized and

existing and by virtue of the laws of the state of California and may be served with process by

service on its registered agent, Corporation Service Company, 123 East Marcy Street, Suite 101,

Santa Fe, New Mexico 87501.

       4. Defendant Owens-Illinois, Inc., is a corporation organized and existing under and by
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virtue of the laws of the State of Ohio with its principal place of business in Ohio, but no longer

maintains a registered agent for service of process in this state. Therefore, it is hereby requested

that service of citation be issued and that this defendant shall be served by serving the Secretary

of State of the State of New Mexico who shall then forward a copy to Defendant at One Michael

Owens Way, Perrysburg, Ohio 43551-2999.

       5. Defendant Crown Cork and Seal Company, Inc., is a company organized and existing

by the virtue of the laws of the state of New York with its principal place of business in the state

of Pennsylvania and may be served with process by service on its registered agent at Marlene

Custance, 555 W. 115th Street, Alsip, Illinois 60803.

       6. Defendant Honeywell International, Inc. is a company organized and existing by the

virtue of the laws of the state of Delaware with its principal place of business in the state of New

Jersey and may be served with process by service on its registered agent at Corporation Service

Company, 123 East Marcy Street, Suite 101, Santa Fe, NM 87501.

       7. Defendant Honeywell, Inc., is a company organized and existing by the virtue of the

laws of the state of Delaware with its principal place of business in New Jersey and may be

served with process by service on its registered agent at 123 East Marcy Street, Suite 101, Santa

Fe, NM 87501.

       8. Defendant Metropolitan Life Insurance Company is a company organized and

existing by the virtue of the laws of the state of Delaware with its principal place of business in

the state of New York and may be served with process by service on its registered agent at CT,

Corporation System, 208 South LaSalle Street, Suite 814, Chicago, Illinois 60604.

                                II. JURISDICTION AND VENUE

       9. This lawsuit arises in part under the laws of New Mexico and in part under the laws


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of the United States. Pursuant to 28 U.S.C. § 1332, this District Court of New Mexico has

original jurisdiction over this lawsuit, a civil action with a matter in controversy exceeding the

sum of $75,000.00, based upon the complete diversity of the parties. Additionally, 42 U.S.C. §

7385 et seq. provides the basis for this Court’s jurisdiction over Plaintiffs’ claims against

Defendants The Zia Company and Regents of the University of California.

                                       III. BACKGROUND

       10. Paul Espersen was employed by the University of California when he worked as an

Electronic and Instrumentation Technician and a Furnace Helper at Los Alamos National

Laboratory (LANL) in Los Alamos, New Mexico from 1958 through 1964.

       11. Defendant Regents of the University of California has managed and operated LANL

under a contract with the United States Department of Energy since 1943.

       12. The Zia Company was an independent contractor at LANL and by contract with the

Regents of the University of California provided certain functions, including by not limited to,

management, administration, equipment installation, building construction, demolition,

maintenance, custodial and other service.

       13. Defendants Owens-Illinois, Inc., Crown Cork & Seal Company, Inc., Honeywell

International, Inc., and Honeywell, Inc., themselves or through their predecessors in interest,

supplied, sold or distributed asbestos-containing products to the LANL and/or other work sites

where Paul H. Epsersen worked and was exposed to respirable asbestos fibers from such

products.

       14. Plaintiff, PAUL H. ESPERSEN, served in the U.S. Army National Guard from 1954

through 1955 and was stationed in Fort Gordon, Georgia. Plaintiff was then employed from

1956 through 1957 at American Smelting and Refining as a Laborer in El Paso, Texas. Plaintiff


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was then employed from 1958 through 1964 at Los Alamos National Laboratory as an Electronic

and Instrumentation Technician and a Furnace Helper. Plaintiff was then employed from 1965

through 1990 at IBM at various locations as a Technical Expert and then employed from 1990

through 1995 at Los Alamos National Laboratory in Technical Support located in Los Alamos,

New Mexico. Plaintiff also performed automotive repairs during the 1960’s and 1970’s and

performed various rehab/home remodeling projects in the 1950’s through the 1970’s. During the

performance of his duties, Mr. Espersen would work with and around asbestos-containing

products. Mr. Espersen inhaled substantial quantities of asbestos fibers with no knowledge of

the deadly effects of asbestos. During the performance of his occupational duties, through non-

occupational work and in other ways, Mr. Epsersen would work with and around asbestos-

containing products and inhale and/or otherwise ingest asbestos fibers.

       15. On or about August 13, 2018, Mr. Espersen was diagnosed with mesothelioma caused

by his exposure to asbestos decades earlier.

                                    IV. CLAIMS FOR RELIEF

                                           1. Negligence

       16. Plaintiffs repeat and re-allege the foregoing paragraphs 1 through 15 as if fully set

forth herein.

       17. The Zia Company and Regents of the University of California had a duty to exercise

reasonable care to protect workers at LANL from dangerous conditions and activities occurring

at the workplace and to otherwise produce such workers with a safe place to work.

       18. The Defendants controlled, operated and/or directed all maintenance or construction

activity in which Paul H. Epsersen was exposed to respirable asbestos fibers. These Defendants

knew, or in the exercise of ordinary or reasonable care should have known, that their asbestos


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containing products and/or machinery were poisonous and highly harmful to Mr. Espersen.

       19. These Defendants’ actions and inactions constitute a breach and failure of their duties

to Paul H. Espersen in several respects, including but not limited to the following:

               a. Failing to provide Paul H. Espersen with a safe workplace;

               b. Failing to warn Paul H. Espersen of the foreseeable hazards of working with
                  and around asbestos and asbestos containing products;

               c. Failing to provide adequate personal protective equipment to protect Paul
                  Espersen from respirable asbestos fibers;

               d. Failing to use suitable substitutes for asbestos; and/or

               e. Otherwise failing to take reasonable steps to prevent asbestos exposure in the
                  workplace.

       20. Furthermore, the negligence of the remaining Defendants was also a proximate cause

of the injuries of Paul H. Espersen. Defendants as suppliers, miners and/or distributors of the

asbestos and/or asbestos-containing products knew, or in the exercise of ordinary or reasonable

care should have known, that their products were poisonous and highly harmful to Plaintiff’s

health. The Defendants’ products were sold, distributed and placed in the stream of commerce

without adequate warning of their deadly potential.

       21. Defendants failed in their duty to protect the foreseeable users of their products from

known or reasonably knowable dangers of their products in several respects, including but not

limited to, the following:

               a. Failing to adequately warn the users, or their intermediaries of the hazards of
                  their products;

               b. Failing to design their products with reasonable available substitutes for
                  asbestos; and

               c. Affirmatively misrepresenting the safety of their asbestos and/or asbestos-
                  containing products.


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       22. Mr. Espersen suffered injuries as a direct and proximate result of all Defendants’

breaches. Mr. Espersen experiences and continues to experience great pain and suffering and

anguish as a direct and proximate result of Defendants’ actions and inactions.

       23. Peggy Espersen and her son will be deprived of the services, comfort and consortium

that Mr. Espersen provided them prior to his illness. These injuries were foreseeable and a direct

and proximate result of these Defendants’ actions and inactions.

       24. WHEREFORE, Plaintiffs pray judgment be entered against the Defendants for a sum

in excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS, which will fairly and

reasonably compensate for the Plaintiffs’ injuries.

                                          2. Willful Misconduct

       25. Plaintiff repeats and re-alleges the foregoing paragraphs 1 through 24 as if fully set

forth herein.

       26. Without just cause or excuse, The Zia Company and Regents of the University of

California, by and through their authorized representatives, agents or employees, intentionally

committed one or more of the actions or inactions set forth above.

       27. These Defendants reasonably could have expected that Mr. Espersen would be

injured or killed as a result of those actions and inactions.

       28. These Defendants expected Mr. Espersen injuries and/or death to result or utterly

disregarded the consequences of their actions and inactions.

       29. As a direct and proximate cause of these Defendants’ actions or inactions, Mr.

Espersen was injured, endured grave pain and suffering, and ultimately will pass away.

       30. Peggy Espersen and her son are thus deprived the services, comfort and consortium

that Mr. Espersen provide them prior to his illness. These injuries were foreseeable and a direct


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and proximate result of these Defendants’ action and inactions.

       31. WHEREFORE, Plaintiffs pray judgment be entered against the Defendants for a sum

in excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS, which will fairly and

reasonably compensate for the Plaintiffs’ injuries.

                                           3. Strict Liability

       32. Plaintiffs repeats and re-alleges the foregoing paragraphs 1 through 31 as if fully set

forth herein.

       33. The defective condition of the asbestos products and/or machinery rendered such

products unreasonable dangerous. They were in this defective condition at the time they left the

hands of the Defendants.

       34. There was a defect in the marketing of the asbestos containing products and/or

machinery at the time they left the possession of these Defendants.         Defendants failed to

adequately warn of the asbestos containing products and/or machinery’s dangers which rendered

them unreasonably dangerous.

       35. There was a defect in the design of the asbestos containing products and/or machinery

at the time they left the possession of the Defendants, which rendered them unreasonably

dangerous.

       36. The defective condition, defective marketing, unreasonably dangerous nature, the

failure to warn, and the Defendants’ actions or inactions were a producing cause of Mr.

Espersen’s injuries.

       37. Peggy Espersen and her son are thus deprived the services, comfort and consortium

that Mr. Espersen provided them prior to his illness. These injuries were foreseeable and a direct

and proximate result of these Defendants’ actions and inactions.


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       38. WHEREFORE, Plaintiffs pray judgment be entered against the Defendants for a sum

in excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS, which will fairly and

reasonably compensate for the Plaintiffs’ injuries.

                                    4. Exemplary/Punitive Damages

       39. Plaintiff repeats and re-alleges the foregoing paragraphs 1 through 38, as if fully set

forth herein.

       40. The actions and inactions of all Defendants, individually, collectively, or through the

cumulative conduct of their agents and employees, was of such character as to make the

Defendants subject to exemplary damages.

       41. The conduct of all Defendants was malicious, willful, reckless, wanton, fraudulent or

in bad faith and otherwise indifferent to the rights, welfare, and safety of Paul H. Espersen,

Peggy Espersen and their son.

       42. As a result of the conduct of all Defendants, Plaintiff herein seeks exemplary

damages in such an amount as to be found to be proper under the facts and circumstances.

       43. Plaintiff hereby invokes the discovery rule and would show unto this Court that Mr.

Espersen did not know he had an asbestos related disease nor should he have known prior to

three years before filing this lawsuit.

       44. WHEREFORE, Plaintiffs pray judgment be entered against the Defendants for a sum

in excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS, which will fairly and

reasonably compensate for the Plaintiffs’ injuries.

                                             5. Conspiracy

       45. Plaintiff repeats and realleges the forgoing Paragraphs 1 through 44 as if fully set

forth herein.


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       46. During the course of his employment, Plaintiff was exposed to and inhaled, ingested

or otherwise absorbed large amounts of asbestos fibers and/or asbestiform fibers emanating from

certain products they were working with and around which were manufactured, sold or

distributed by the Defendants named in Count I above.

       47. The Defendants, including METROPOLITAN LIFE INSURANCE COMPANY and

HONEYWELL INTERNATIONAL INC., and/or their predecessors-in-interest, knowingly

agreed, contrived, combined, confederated and conspired among themselves and with other

entities, including Johns-Manville Corporation, Union Asbestos & Rubber Company, Pittsburgh-

Corning Corporation and United States Gypsum, to cause Plaintiff’s injury, disease and illness

by exposing Plaintiff to harmful and dangerous asbestos-containing products and/or machinery

requiring or calling for the use of asbestos and/or asbestos-containing products. Defendants and

other entities further knowingly agreed, contrived, combined, confederated and conspired to

deprive Plaintiff of the opportunity of informed free choice as to whether to use said asbestos-

containing products and/or machinery requiring or calling for the use of asbestos and/or

asbestos-containing products or to expose himself to said dangers. In this connection, Plaintiff

has   sued   METROPOLITAN          LIFE     INSURANCE        COMPANY        and    HONEYWELL

INTERNATIONAL INC., in their capacities as co-conspirators. Defendants committed the

above-described wrongs, some of which wrongful conduct occurred at the locations above, by

willfully misrepresenting and suppressing the truth as to the risks and dangers associated with the

use of and exposure to Defendants’ asbestos-containing products and/or machinery requiring or

calling for the use of asbestos and/or asbestos-containing products.

       48. In   furtherance   of   said   conspiracy,   Defendants,    METROPOLITAN          LIFE

INSURANCE COMPANY and HONEYWELL INTERNATIONAL INC., performed the


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following overt acts:

       (a)     for many decades, Defendants METROPOLITAN LIFE INSURANCE
               COMPANY and HONEYWELL INTERNATIONAL INC., individually, jointly,
               and in conspiracy with each other and other entities, have been in possession of
               medical and scientific data, literature and test reports which clearly indicated that
               the inhalation of asbestos dust and fibers resulting from the ordinary and
               foreseeable use of said asbestos-containing products and/or machinery requiring
               or calling for the use of asbestos and/or asbestos-containing products were
               unreasonably dangerous, hazardous, deleterious to human health, carcinogenic
               and potentially deadly;

       (b)     despite the medical and scientific data, literature and test reports possessed by and
               available to Defendants, Defendants individually, jointly, and in conspiracy with
               each other and other entities, fraudulently, willfully and maliciously:

               (1)      withheld, concealed and suppressed said medical and scientific data,
                        literature and test reports regarding the risks of asbestosis, cancer,
                        mesothelioma and other illnesses and diseases from Plaintiff who was
                        using and being exposed to Defendants’ asbestos-containing products
                        and/or machinery requiring or calling for the use of asbestos and/or
                        asbestos-containing products;

               (2)      caused to be released, published and disseminated medical and scientific
                        data, literature and test reports containing information and statements
                        regarding the risks of asbestosis, cancer, mesothelioma and other illnesses
                        and diseases, which Defendants knew were incorrect, incomplete,
                        outdated and misleading; and

               (3)      distorted the results of medical examinations conducted upon Plaintiff and
                        workers such as Plaintiff who were using asbestos-containing products
                        and/or machinery requiring or calling for the use of asbestos and/or
                        asbestos-containing products and being exposed to the inhalation of
                        asbestos dust and fibers by falsely stating and/or concealing the nature and
                        extent of the harm to which Plaintiff and workers such as Plaintiff have
                        suffered.

       (c)     In addition, certain of the defendants, including but not limited to
               METROPOLITAN LIFE INSURANCE COMPANY and HONEYWELL
               INTERNATIONAL INC., contrived, combined, confederated and conspired
               through a series of industry trade meetings and the creation of organizations such
               as the Air Hygiene Foundation (later the Industrial Hygiene Foundation) to
               establish authoritative standards for the control of industrial dusts which would
               act as a defense in personal injury lawsuits, despite knowing that compliance with
               such standards would not protect workers such as Plaintiff from contracting an
               asbestos disease or cancer.

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        (d)    In furtherance of said conspiracies, Defendants and/or their co-conspirators
               contributed to cause the establishment of a Threshold Limit Value for asbestos
               exposure, and contributed to the maintenance of such Threshold Limit Value
               despite evidence that this supposed “safe” level of exposure to asbestos would not
               protect the health of workers such as Plaintiff even if complied with.

        (e)    As the direct and proximate result of the false and fraudulent representations,
               omissions and concealments set forth above, Defendants, individually, jointly,
               and in conspiracy with each other, intended to induce the Plaintiff to rely upon
               said false and fraudulent representations, omissions and concealments, to continue
               to expose himself to the dangers inherent in the use of and exposure to
               Defendants’ asbestos-containing products, and/or machinery requiring or calling
               for the use of asbestos and/or asbestos-containing products and/or products which
               caused the release of respirable asbestos fibers and/or asbestiform fibers.

        49. Defendants individually, and as members of a conspiracy, and as agents of other co-

conspirators were in a position of superior knowledge regarding the health hazards of asbestos

and therefore the Plaintiff and others deciding to use said asbestos-containing products to which

Plaintiff was exposed had a right to rely and did rely on the published reports commissioned by

the Defendants regarding the health hazards of asbestos and the absence of published medical

and scientific data regarding the hazards of asbestos and asbestos-containing products and/or

machinery requiring or calling for the use of asbestos and/or asbestos-containing products.

        50. As a direct and proximate result of Defendants’ intentional publication of deceptive

and misleading medical data and information, as described in the preceding paragraphs, upon

which data the Plaintiff reasonably relied, the Defendants caused asbestos and asbestos-

containing products and/or machinery requiring or calling for the use of asbestos and/or

asbestos-containing products to be used by Plaintiff and Plaintiff inhaled or otherwise ingested

hazardous asbestos dust, and/or will inhale or ingest hazardous asbestos dust, resulting in

injuries.

        51. Additionally and alternatively, as a direct and proximate result of Defendants’ actions

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and omissions as described above, the Plaintiff was caused to remain ignorant concerning the

danger of human exposure to asbestos, resulting in damage to the Plaintiff by depriving the

Plaintiff and workers such as Plaintiff, of opportunities to be aware of the hazards of asbestos

exposure, and thus the opportunity to take proper safety precautions and/or avoid exposure to

asbestos dust. Because of this ignorance on the part of the Plaintiff, Defendants’ failure to warn,

Defendants’ concealment from the Plaintiff of the alteration of their published test results, and

the actions and omissions and concerted design and conspiracy of METROPOLITAN LIFE

INSURANCE COMPANY and HONEYWELL INTERNATIONAL INC., and others, all as

described above, the Plaintiff was exposed to asbestos and asbestos-containing products and/or

machinery containing or calling for the use of asbestos and/or asbestos-containing products used

at his places of employment and/or his family members’ place employment and has inhaled or

otherwise ingested hazardous asbestos dust resulting in his developing mesothelioma.

       52. As a direct and proximate result of one or more of the foregoing acts or omissions on

the part of the Defendants mentioned above, the Plaintiff was exposed to and inhaled, ingested or

otherwise absorbed asbestos fibers and/or asbestiform fibers causing Plaintiff to develop

mesothelioma, which will ultimately lead to his death; Plaintiffs have been compelled to expend

and become liable for large sums of monies for hospital, medical and other health care services

necessary for the treatment of Plaintiff’s asbestos-induced disease and conditions; Plaintiff has

experienced, and will continue to experience now and in the future, great physical pain and

mental anguish as a result of the inhalation, ingestion and absorption of said asbestos fibers

and/or asbestiform fibers; that as a further result of his asbestos-induced disease and conditions,

the Plaintiff has been hindered, and will continue to be hindered now and in the future, from

pursuing his normal course of life; further, by reason of the sickness of the Plaintiff, his family


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has been deprived, and will continue to be deprived, of his means of support and society.

       WHEREFORE, Plaintiffs pray judgment be entered against the Defendants for a sum in

excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS which will fairly and

reasonably compensate for the Plaintiffs’ injuries.

                                            V. PRAYER

        WHEREFORE, Plaintiffs pray that judgment be entered in their favor and against the

Defendants jointly and severally, as follows:

       All damages allowed under New Mexico tort law;

       All damages allowed under The Energy Employees Occupational Illness Compensation

       Program Act (“EEOICPA”);

       Costs of suit and attorneys’ fees as allowed by law;

       Pre-judgement and post judgment interest as allowed by law; and

       For such further relief as the Court and fact-finder deems just and proper.

                                                Respectfully submitted,

                                                KELLY DURHAM & PITTARD, LLP




                                            By: ________________________________
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